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                         UNITED STATES DISTRICT COURT
                              Western District of Texas
                                WACO DIVISION

BLACKBIRD TECH LLC              §
                                §
vs.                             §                       NO: WA:20-CV-00603-ADA
                                §
EVERNOTE CORPORATION, EVERNOTE §
CORPORATION, BLACKBIRD TECH LLC

                 ORDER GOVERNING PROCEEDINGS – PATENT CASE

 This Order shall govern proceedings in this case. The following deadlines are hereby set:

        This case is SET for a telephonic Rule 16 Case Management Conference on Thursday,
        September 24, 2020 at 2:30 p.m. Participants shall dial into the following number 5
        minutes before the scheduled time: 866.434.5269; access code 967-8090. Lead counsel
        for each party, and all unrepresented parties, shall be present. Client representatives are
        welcome to attend, but such attendance is not required. In person attendance is
        permitted, but not required. Anyone planning to attend in person should so inform the
        Court by contacting chambers not later than two court days before the scheduled hearing
        so the Court can evaluate whether to hold the conference in the courtroom, or in
        chambers. The Court expects the parties to be prepared to discuss:

            a. an overview of the claims and defenses, including any unique issues the
               parties believe should be addressed at this stage of the case;

            b. issues involving the case schedule and potential amendments to the
               Court’s default scheduling order, including the date for the Markman
               Hearing;

            c. issues relating to claim construction, including whether a live tutorial would be
               of benefit to the Court;

            d. issues relating to discovery, including potential amendments to the Court’s
               default discovery limits or Protective Order; and,

            e. any other issues the parties believe would lead to the just, speedy and
               inexpensive determination of this action.

2.     (Not later than 7 days before the CMC). Plaintiff shall serve preliminary infringement
       contentions in the form of a chart setting forth where in the accused product(s) each element
       of the asserted claims(s) are found. Plaintiff shall also identify the priority date (i.c. the
       earliest date of invention) for each asserted claim and produce: (1) all documents
       evidencing conception and reduction to practice for each claimed invention, and (2) a copy
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           of the file history for each patent in suit.

3.         (Not later than 3 business days before the CMC). Lead counsel for each party shall meet and
           confer (either in person or by telephone), to discuss whether they believe the Court’s default
           Scheduling Order and default Discovery Limits are appropriate for this case, and any issues
           relating to the management of this case they intend to raise at the CMC.

4.         (Two weeks after the CMC). The Parties shall submit an agreed Scheduling Order. If the
           parties cannot agree, the parties shall submit a separate Joint Motion for entry of each Order
           briefly setting forth their respective positions on items where they cannot agree. Absent
           agreement of the parties, the Plaintiff shall be responsible for the timely submission of this
           and other Joint filings.

5.         (Two weeks after the CMC). Deadline for Motions to Transfer. The Court also adopts the
           following page limits and briefing schedule for Motions to Transfer:

           a. Opening – 15 pages

           b. Response – 15 pages, due 14 days after the Opening brief

           c. Reply – 5 pages, due 7 days after the Response brief

6.         (Seven weeks after the CMC). Defendant shall serve preliminary invalidity contentions in the
           form of (1) a chart setting forth where in the prior art references each element of the asserted
           claim(s) are found, (2) an identification of any limitations the Defendant contends are
           indefinite or lack written description under section 112, and (3) an identification of any
           claims the Defendant contends are directed to ineligible subject matter under section 101.
           Defendant shall also produce (1) all prior art referenced in the invalidity contentions, (2)
           technical documents, including software where applicable, sufficient to show the operation
           of the accused product(s), and (3) summary, annual sales information for the accused
           product(s) for the two years preceding the filing of the Complaint,1 unless the parties agree to
           some other timeframe.

                                                    DISCOVERY

Except with regard to venue, jurisdictional, and claim construction-related discovery, all other
discovery is stayed until after the Markman hearing. Notwithstanding this general stay of discovery,
the Court will permit limited discovery by agreement of the parties, or upon request, where
exceptional circumstances warrant. For example, if discovery outside the United States is
contemplated, the Court will be inclined to allow such discovery to commence before the Markman
hearing.

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     With regard to expired patents, the sales information shall be provided for the two years preceding expiration.
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With respect to venue and jurisdictional discovery, the Court generally grants leave for the parties to
conduct targeted discovery (including, but not limited to requests for production, interrogatories, and
depositions) with regard to motions to transfer venue or motions to dismiss based on lack of
jurisdiction. If the parties disagree as to what reasonable discovery limits are, the Court encourages
the parties to contact the Court to request a telephonic discovery hearing.
Following the Markman hearing, the following discovery limits will apply to this case. The Court
will consider reasonable requests to adjust these limits should circumstances warrant.
         1. Interrogatories: 30 per side2
         2. Requests for Admission: 45 per side
         3. Requests for Production: 75 per side
         4. Fact Depositions: 70 hours per side (for both party and non-party witnesses combined)
         5. Expert Depositions: 7 hours per report3

Electronically Stored Information. As a preliminary matter, the Court will not require general
search and production of email or other electronically stored information (ESI), absent a showing of
good cause. If a party believes targeted email/ESI discovery is necessary, it shall propose a procedure
identifying custodians and search terms it believes the opposing party should search. The opposing
party can oppose, or propose an alternate plan. If the parties cannot agree, they shall contact
chambers to schedule a call with the Court to discuss their respective positions.

                                           DISCOVERY DISPUTES

A party may not file a Motion to Compel discovery unless: (1) lead counsel have met and conferred
in good faith to try to resolve the dispute, and (2) the party has contacted the Court’s law clerk (with
opposing counsel) to arrange a telephone conference with the Court to summarize the dispute and the
parties respective positions. After hearing from the parties, the Court will determine if further
briefing is required.

                                            PROTECTIVE ORDER

Pending entry of the final Protective Order, the Court issues the following interim Protective Order
to govern the disclosure of confidential information in this matter:

              If any document or information produced in this matter is deemed confidential by the
              producing party and if the Court has not entered a protective order, until a protective
              order is issued by the Court, the document shall be marked “confidential” or with some

 2
   A “side” shall mean the plaintiff (or related plaintiffs suing together) on the one hand, and the defendant (or
 related defendants sued together) on the other hand. In the event that the Court consolidates related cases for
 pretrial purposes, with regard to calculating limits imposed by this Order, a “side” shall be interpreted as if the
 cases were proceeding individually. For example, in consolidated cases the plaintiff may serve up to 30
 interrogatories on each defendant, and each defendant may serve up to 30 interrogatories on the plaintiff.
 3
   For example, if a single technical expert submits reports on both infringement and invalidity, he or she may be
 deposed for up to 14 hours in total.
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       other confidential designation (such as “Confidential – Outside Attorneys Eyes
       Only”) by the disclosing party and disclosure of the confidential document or
       information shall be limited to each party’s outside attorney(s) of record and the
       employees of such outside attorney(s).

       If a party is not represented by an outside attorney, disclosure of the confidential
       document or information shall be limited to one designated “in house” attorney, whose
       identity and job functions shall be disclosed to the producing party 5 days prior to any
       such disclosure, in order to permit any motion for protective order or other relief
       regarding such disclosure. The person(s) to whom disclosure of a confidential
       document or information is made under this local rule shall keep it confidential and
       use it only for purposes of litigating the case.

                              CLAIM CONSTRUCTION ISSUES

Terms for Construction. Based on the Court’s experience, the Court believes that it should
have presumed limits on the number of claim terms to be construed. The “presumed limit” is
the maximum number of terms that the parties may request the Court to construe without
further leave of Court. If the Court grants leave for the additional terms to be construed,
depending on the complexity and number of terms, the Court may split the Markman hearing
into two hearings.

The presumed limits based on the number of patents-in-suit are as follows:

                     Limits for Number of Claim Terms to be Construed

 1-2 Patents                      3-5 Patents                       More than 5 Patents
 10 terms                         12 terms                          15 terms

When the parties submit their joint claim construction statement, in addition to the term and
the parties’ proposed constructions, the parties should indicate which party or side proposed
that term, or if that was a joint proposal.

Claim Construction Briefing. The Court will require simultaneous claim construction
briefing with the following default page limits; however, where exceptional circumstances
warrant, the Court will consider reasonable requests to adjust these limits. These page limits
shall also apply collectively for consolidated cases; however, the Court will consider
reasonable requests to adjust page limits in consolidated cases where circumstances warrant.
In addition, the Court is very familiar with the law of claim construction and encourages the
parties to forego lengthy recitations of the underlying legal authorities and instead focus on the
substantive issues unique to each case.

Unless otherwise agreed by the parties, all simultaneous filings will take place at 5:00 p.m. CT.
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                                 Page Limits for Markman Briefs

     Brief                  1-2 Patents                3-5 Patents                More than 5 Patents
     Opening                20 pages                   30 pages                   30 pages, plus 5
                                                                                  additional pages for
                                                                                  each patent over 5 up
                                                                                  to a maximum of 45
                                                                                  pages
     Response               20 pages                   30 pages                   30 pages, plus 5
                                                                                  additional pages for
                                                                                  each patent over 5 up
                                                                                  to a maximum of 45
                                                                                  pages
     Reply                  10 pages                   15 pages                   15 pages, plus 2
                                                                                  additional pages for
                                                                                  each patent over 5 up
                                                                                  to a maximum of 21
                                                                                  pages

 Conduct of the Markman Hearing.

 The Court generally sets aside one half day for the Markman hearing; however, the Court is
 open to reserving more or less time, depending on the complexity of the case and input from
 the parties. The Court requires submission of technology tutorials in advance of the Markman
 hearing when they may be of benefit. The parties may submit tutorials in electronic form not
 later than one week before the Markman hearing and the Court encourages the parties to aim
 for tutorials with voiceovers in the 15 minute range. If a party intends to present a live tutorial,
 the parties should contact the Court to set-up a Zoom or telephonic tutorial to occur at least a
 week before the Markman hearing. In general, tutorials should be: (1) directed to the
 underlying technology (rather than argument related to infringement or validity), and (2)
 limited to 15 minutes per side. For the Court’s convenience, the tutorial may be recorded, but
 will not be part of the record. Parties may not rely on or cite to the tutorial in other aspects of the
 litigation.

 The Court will consider the parties suggestions on the order of argument at the Markman
 hearing. However, if the parties do not suggest a different procedure, the Court will allow the
 Plaintiff to pick the first term and then alternate by term. As a general rule, if one side
 proposes “plain and ordinary meaning” as its construction or asserts that a term is indefinite,
 the other party shall go first.

                                          GENERALISSUES

1.     The Court does not have a limit on the number of motions for summary judgment (MSJs);
       however, absent leave of Court, the cumulative page limit for Opening Briefs for all MSJs
       is 40 pages per side.
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2.    There may be instances where the submission of substantive briefs via audio file will be of
      help to the Court. If a party is contemplating submitting a brief via audio file it should
      contact the Court for guidance on whether it would be helpful to the Court. However, the
      Court has determined that audio recordings of Markman briefs are of limited value and those
      need not be submitted. The recordings shall be made in a neutral fashion, shall be verbatim
      transcriptions without additional colloquy (except that citations and legal authority sections
      need not be included), and each such file shall be served on opposing counsel. The Court
      does not have a preference for the manner of recording and has found automated software
      recordings, as well as attorney recordings, to be more than satisfactory. Audio files shall be
      submitted via USB drive, Box (not another cloud storage), or email to the law clerk (with a
      cc to opposing counsel) and should be submitted in mp3 format.

3.    The Court will entertain reasonable requests to streamline the case schedule and
      discoveryand encourages the parties to contact the Court’s law clerk (with opposing counsel)
      toarrange a call with the Court when such interaction might help streamline the case.

4.    The Court is generally willing to extend the response to the Complaint up to 45 days ifagreed
      by the parties. However, longer extensions are disfavored and will require goodcause.

5.    For Markman briefs, summary judgment motions, and Daubert motions, each party
      shalldeliver to Chambers one (1) paper copy of its Opening, Response, and Reply Briefs,
      omittingattachments, no later than one week after the last-filed brief or at least a week before
      the hearing, whichever is earlier.

6.    Plaintiff must file a notice informing the Court when an IPR is filed, the expected time for an
      institution decision, and the expected time for a final written decision, within two weeks of
      the filing of the IPR.

7.    To the extent the parties need to email the Court, the parties should use the following
      emailaddress: TXWDml_LawClerks_JudgeAlbright@txwd.uscourts.gov.



ORDERED this 9th day of September, 2020.



                                                    ALAN D ALBRIGHT
                                                    UNITED STATES DISTRICT JUDGE
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                                     APPENDIX A – DEFAULT SCHEDULE

    Deadline                        Item
    7 days before CMC               Plaintiff serves preliminary4 infringement contentions in the
                                    form of a chart setting forth where in the accused product(s)
                                    each element of the asserted claim(s) are found. Plaintiff shall
                                    also identify the earliest priority date (i.e. the earliest date of
                                    invention) for each asserted claim and produce: (1) all
                                    documents evidencing conception and reduction to practice
                                    for each claimed invention, and (2) a copy of the file history
                                    for each patent in suit.
    2 weeks after CMC               Deadline for Motions to Transfer.
    7 weeks after CMC               Defendant serves preliminary invalidity contentions in the
                                    form of (1) a chart setting forth where in the prior art
                                    references each element of the asserted claim(s) are found, (2)
                                    an identification of any limitations the Defendant contends are
                                    indefinite or lack written description under section 112, and
                                    (3) an identification of any claims the Defendant contends are
                                    directed to ineligible subject matter under section 101.
                                    Defendant shall also produce (1) all prior art referenced in the
                                    invalidity contentions, (2) technical documents, including
                                    software where applicable, sufficient to show the operation of
                                    the accused product(s), and (3) summary, annual sales
                                    information for the accused product(s) for the two years
                                    preceding the filing of the Complaint, unless the parties agree
                                    to some other timeframe.
    9 weeks after CMC               Parties exchange claim terms for construction.
    11 weeks after CMC              Parties exchange proposed claim constructions.
    12 weeks after CMC              Parties disclose extrinsic evidence. The parties shall disclose
                                    any extrinsic evidence, including the identity of any expert
                                    witness they may rely upon with respect to claim construction
                                    or indefiniteness. With respect to any expert identified, the
                                    parties shall also provide a summary of the witness’s expected
                                    testimony including the opinions to be expressed and a
                                    general description of the basis and reasons therefor. A


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 The parties may amend preliminary infringement contentions and preliminary invalidity contentions without
leave of court so long as counsel certifies that it undertook reasonable efforts to prepare its preliminary
contentions and the amendment is based on material identified after those preliminary contentions were served,
and should do so seasonably upon identifying any such material. Any amendment to add patent claims requires
leave of court so that the Court can address any scheduling issues.


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                                     failure to summarize the potential expert testimony in a good
                                     faith, informative fashion may result in the exclusion of the
                                     proffered testimony. With respect to items of extrinsic
                                     evidence, the parties shall identify each such item by
                                     production number or produce a copy of any such item if not
                                     previously produced.
    13 weeks after CMC               Deadline to meet and confer to narrow terms in dispute and
                                     exchange revised list of terms/constructions.
    14 weeks after CMC               Parties file Opening claim construction briefs, including any
                                     arguments that any claim terms are indefinite.
    17 weeks after CMC               Parties file Responsive claim construction briefs.
    19 weeks after CMC               Parties file Reply claim construction briefs.
    20 weeks after CMC               Parties submit Joint Claim Construction Statement. In
                                     addition to filing, the parties shall jointly submit, via USB
                                     drive, Box (not another cloud storage),5 or email to the law
                                     clerk, pdf versions of all as-filed briefing and exhibits. Each
                                     party shall deliver to Chambers paper copies of its Opening,
                                     Response , and Reply Markman Briefs, omitting attachments.
                                     Absent agreement of the parties, the Plaintiff shall be
                                     responsible for the timely submission of this and other Joint
                                     filings.
    23 weeks after CMC (but          Parties submit optional technical tutorials. The parties shall
    at least 1 week before           also jointly submit, via USB drive, Box (not another cloud
    Markman hearing)                 storage), or email to the law clerk, pdf versions of all as-filed
                                     briefing and exhibits.
    24 weeks after CMC (or as        Markman Hearing at [9:00 a.m. or 1:00 p.m.]
    soon as practicable)
    1 business day after             Fact Discovery opens; deadline to serve Initial Disclosures per
    Markman hearing                  Rule 26(a).
    6 weeks after Markman            Deadline to add parties.
    hearing
    8 weeks after Markman            Deadline to serve Final Infringement and Invalidity
    hearing                          Contentions. After this date, leave of Court is required for
                                     any amendment to Infringement or Invalidity contentions.
                                     This deadline does not relieve the Parties of their obligation to

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 To the extent a party wishes to use cloud storage, the parties should contact the law clerk to request a Box link
so that the party can directly upload the file to the Court’s Box account.

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                          seasonably amend if new information is identified after initial
                          contentions.
 12 weeks after Markman   Deadline to amend pleadings. A motion is not required unless
 hearing                  the amendment adds patents or patent claims.
 26 weeks after Markman   Deadline for the first of two meet and confers to discuss
                          significantly narrowing the number of claims asserted and
                          prior art references at issue. Unless the parties agree to the
                          narrowing, they are ordered to contact the Court’s Law Clerk
                          to arrange a teleconference with the Court to resolve the
                          disputed issues.
 30 weeks after Markman   Close of Fact Discovery.
 hearing
 31 weeks after Markman   Opening Expert Reports.
 hearing
 35 weeks after Markman   Rebuttal Expert Reports.
 hearing
 38 weeks after Markman   Close of Expert Discovery.
 hearing
 39 weeks after Markman   Deadline for the second of two meet and confer to discuss
 hearing                  narrowing the number of claims asserted and prior art
                          references at issue to triable limits. To the extent it helps the
                          parties determine these limits, the parties are encouraged to
                          contact the Court’s Law Clerk for an estimate of the amount
                          of trial time anticipated per side. The parties shall file a Joint
                          Report within 5 business days regarding the results of the
                          meet and confer.
 40 weeks after Markman   Dispositive motion deadline and Daubert motion deadline.
 hearing
 42 weeks after Markman   Serve Pretrial Disclosures (jury instructions, exhibits lists,
 hearing                  witness lists, discovery and deposition designations).
 44 weeks after Markman   Serve objections to pretrial disclosures/rebuttal disclosures.
 hearing
 45 weeks after Markman   Serve objections to rebuttal disclosures and File Motions in
 hearing                  limine.

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    46 weeks after Markman           File Joint Pretrial Order and Pretrial Submissions (jury
    hearing                          instructions, exhibits lists, witness lists, discovery and
                                     deposition designations); file oppositions to motions in limine
    47 weeks after Markman           File Notice of Request for Daily Transcript or Real Time
    hearing                          Reporting. If a daily transcript or real time reporting of court
                                     proceedings is requested for trial, the party or parties making
                                     said request shall file a notice with the Court and e-mail the
                                     Court Reporter, Kristie Davis at kmdaviscsr@yahoo.com


                                     Deadline to meet and confer regarding remaining objections
                                     and disputes on motions in limine.
    3 business days before           File joint notice identifying remaining objections to pretrial
    Final Pretrial Conference.       disclosures and disputes on motions in limine.
    49 weeks after Markman           Final Pretrial Conference. The Court expects to set this date
    hearing (or as soon as           at the conclusion of the Markman Hearing.
    practicable)
    52 weeks after Markman           Jury Selection/Trial. The Court expects to set these dates at
    hearing (or as soon as           the conclusion of the Markman Hearing.
    practicable)6

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 If the actual trial date materially differs from the Court’s default schedule, the Court will consider reasonable
amendments to the case schedule post-Markman that are consistent with the Court’s default deadlines in light of
the actual trial date.


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